Case 1:25-cv-01814-BAH Document1_ Filed 06/09/25 Page 1of 10

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND 4 D

Rev'd by: MI

Complaint for a Civil Case

Case No. BAW e 5 CV 18 1 b

Ekere Lnyangethe

(Write the full name of each plaintiff who is filing . ,
to he filled in by the Clerk’s O
this complaint. If the names of all the plaintiffs (to be filled in by the Clerk's Office)
cannot fitin the space above, please write see JuryTria: = Yes O No
attached” in the space and attach an additional
: : (check one)
page with the full list of names.)

USDC- BALTINORE
25 JUN 5 PHI? 336

-against-

TEC Kuh Henvy
( Badge Ne - 6700 )

(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached” in the space and attach an additional

page with the full list of names.)

Case 1:25-cv-01814-BAH Document1 Filed 06/09/25 Page 2 of 10

I The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach

additional pages if needed. ‘
Name Elcere Inyangebte
Street Address 1564 hy Cow burs Rad
City and County Es S-e% ~
State and Zip Code Marglare , 21221
Telephone Number Jor GbT- 390L
E-mail Address

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title Gf
known). Attach additional pages ifneeded. ~

Defendant No. 1
Name TEC Kurtis Henry
Job or Title Maryland State Trooper-( badge No, £700)
(if known) ,
Street Address Is Tunpke Deve
City and County Perryville
State and Zip Code Narale wd : 21403
Telephone Number ‘4IO §37- Hee
E-mail Address Kurths. Henry @ Maryland . GoV
(if known) , ° v

Case 1:25-cv-01814-BAH Document1_ Filed 06/09/25 Page 3 of 10

Defendant No. 2

Name

Job or Title

(if known)
Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address

(if known}

Defendant No. 3

Name

Job or Title

(Gf known)
Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address

(if known)

Defendant No. 4

Name

Job or Title

Gif known)
Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address

(if known)

(if there are more than four defendants, attach an additional page
providing the same information for each additional defendant.)

Case 1:25-cv-01814-BAH Document1_ Filed 06/09/25 Page 4 of 10

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
under the United States Constitution or federal laws or treaties is a federal question case.
Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
case, In a diversity of citizenship case, no defendant may be a citizen of the same State
as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

f4 Federal question CO] Diversity of citizenship
Fill out the paragraphs in this section that apply to this case.

A, If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United
States Constitution that are at issue in this case.

WZ \Y.S.C. 3 19¢3

B. ¥f the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)
a. If the plaintiff is an individual

The plaintiff, (name) , is a citizen of
the State of (name)

b. If the plaintiff is a corporation

The plaintiff, (name) , 18 incorporated
under the laws of the State of (name) 5
and has its principal place of business in the State of (name)

(if more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff.)

4

Case 1:25-cv-01814-BAH Document1_ Filed 06/09/25 Page 5 of 10

2. The Defendant(s)

a. If the defendant is an individual
The defendant, (name) ,is a citizen of
the State of (name) . Orisa citizen of
(foreign nation)

b. If the defendant is a corporation
The defendant, (nanie) 41s
incorporated under the laws of the State of (name)

, and has its principal place of

business in the State of (name) . Oris

incorporated under the laws of (foreign nation)
, and has its principal place of

business in (name)

(if more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional
defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant
owes or the amount at stake—is more than $75,000, not counting interest
and costs of court, because (explain):

4 10,900,920 (Ten Milhou Dollars) Patnr and
Guffering

Case 1:25-cv-01814-BAH Document1 Filed 06/09/25 Page 6 of 10

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how cach defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiff’s rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.

Case 1:25-cv-01814-BAH Document1_ Filed 06/09/25 Page 7 of 10

Attachment pg. 6, Ill

Statement of Claim

The defendant (TFC. Henry, [Maryland State Police Badge No. 6700, Sub-Agency 90-62]), in
this action, has violated the Civil Rights Act 42 U.S.C. §1983 in his actions and duties sworn to
uphold.

tn or around the 28", day of February, 2024, the plaintiff (Ekere Inyangette), was arrested by
MST Henry for:

e (DRIVING, ATTEMPTING TO DRIVE) VEHICLE WHILE INDER THE INFLUECE OF ALCOBOL
TA.21.902.A1-I,

e (DRIVING, ATTEMTING TO DRIVE) VEH. WHILE IMPAIRED BY ALCOHOL TA.21.902.B1.1),

e (STOPPING, STANDING, PARKING) VEH. ON HWY. RAMP TA.21.1003.K),

e NEGLIGENT DRIVING TA.21.901.1.B.

The defendant falsified documentation, (Under Penalty of Perjury), to justify the illegal
seizure of the plaintiff. (See Exhibit A1 and A2)

As a result of the defendant's actions, the plaintiff, has lost driving privileges which has led to
loss of employment and hardships, seen and unforeseen.

Therefore, the plaintiff seeks $10,000,000 {Ten Million Dollars), in damages.

IV.

Case 1:25-cv-01814-BAH Document1 Filed 06/09/25 Page 8 of 10

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages. For any request for injunctive relief, explain why
monetary damages at a later time would not adequately compensate you for the injuries
you sustained, are sustaining, or will sustain as a result of the events described above, or
why such compensation could not be measured.

the Planbtt pags Mak Wor court gran} Pre relief requested
mm We Gyrsunt of ‘Jen NM: iow Dollars (40, 000, eo), for €alSiffiog
documentation, “9 ordey ko cushy a viola 7a. of U2 UU, 4, C.

~~

$1983 and egal Sazuve ot Person, ett, wm violakown of

Vie Ue. Cons\ he ‘aS yi hmend.

Case 1:25-cv-01814-BAH Document1 Filed 06/09/25 Page 9 of 10

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as fo harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

A.

For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: 6 ~ j , 20 257

Signature of Plaintiff

1
\

~~ -

Printed Name of Plaintiff Phere Tuyan 4 z+ se!
7

(if more than one plaintiff is named in the complaint, attach an additional
certification and signature page for each additional plaintiff.)

For Attorneys

Date of signing: ,20_.

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm

Address

Telephone Number

Email Address

Case 1:25-cv-01814-BAH Document1 Filed 06/09/25 Page 10 of 10

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

Ekere Unyangette *
7]

¥. Case No.

TFC Kurke Bear

CERTIFICATE OF SERVICE

Thereby certify that on , a copy of

which was electronically filed in this case on

, was mailed via

first class mail, postage prepaid, to

6-9-2025 ads

Date Signature if /

E here dyer ge He.

Printed Name and Bar Number

1564 Aleonbuey Rd, Escer, Md 21221

Address

inqangekere 42@

Email Address

qmiasl Cam
U

Qo2 §b61-3906

Telephone Number

Fax Number

?

CertificatcofService (06/2016)

